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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES -- GENERAL

Case No.       CV 18-3093-JFW(ASx)                                                 Date: July 6, 2018

Title:         Lisa Kim -v- Tinder, Inc., et al.

PRESENT:
               HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

               Shannon Reilly                                 None Present
               Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                  ORDER DENYING PLAINTIFF LISA KIM’S EX
                                            PARTE APPLICATION FOR ORDER PERMITTING
                                            PLAINTIFF TO FILE SUPPLEMENTAL BRIEFING
                                            PERTAINING TO NEW AUTHORITY IN SUPPORT OF
                                            HER OPPOSITION TO DEFENDANTS’ MOTION TO
                                            COMPEL ARBITRATION OR STAY UNDER
                                            COLORADO RIVER ABSTENTION [filed 7/3/18;
                                            Docket No. 34]

        On July 3, 2018, Plaintiff Lisa Kim (“Plaintiff”) filed an Ex Parte Application for Order
Permitting Plaintiff to File Supplemental Briefing Pertaining to New Authority in Support of Her
Opposition to Defendants' Motion to Compel Arbitration or Stay under Colorado River Abstention
(“Application”). On July 5, 2018, Defendants Tinder, Inc., Match Group, LLC, and Match Group,
Inc. (collectively, “Defendants”) filed their Opposition. Pursuant to Rule 78 of the Federal Rules of
Civil Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for decision
without oral argument. After considering the moving and opposing papers, and the arguments
therein, the Court rules as follows:

         For the reasons stated in Defendants’ Opposition, Plaintiff’s Application is DENIED.

         IT IS SO ORDERED.




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